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                                                               FILED: April 16, 2010


                            UNITED STATES COURT OF APPEALS

                                   FOR THE FOURTH CIRCUIT

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                                       No. 07-4059 (L)
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA

                                   Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                                   Defendant - Appellant



                                     ___________________

                                          O R D E R
                                     ___________________

              The Court grants the motion to suspend briefing pending

        resolution of the motion for abeyance.



                                                       For the Court--By Direction

                                                      /s/Patricia S. Connor, Clerk
